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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 ROWAN UNIVERSITY, a New Jersey
 institution of higher education,
                                                 Civ. Case No. 1:21-cv-04331-NLH-AMD
                Plaintiff,

 v.

 FACTORY MUTUAL INSURANCE
 COMPANY, a Rhode Island corporation,

                Defendant.




           PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CLAIM

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Rowan University

hereby dismisses all of its claims in the above-captioned matter.



       Respectfully submitted this 10th day of March, 2021.



                                             KANNER & WHITELEY, LLC

                                        By: /s/ Allan Kanner                    .




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 10, 2021, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF which will automatically send e-mail notification of such

filing to all attorneys of record in this action.

                                         By:         /s/ Allan Kanner                   .




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